                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


ARIEL ZBOROWSKI,                                              Index No.: 23-cv-10963

                        Plaintiff,
                                                               COMPLAINT
         v.

 GOOGLE, LLC,
                                                              JURY TRIAL DEMANDED
                        Defendant.


         Ariel Zborowski (hereinafter referred to as “Plaintiff” or “Zborowski”), by and through her

attorneys, McLaughlin & Stern, LLP, as and for her Complaint against Google, LLC (hereinafter

referred to as the “Defendant”, “Company” or “Google”), alleges as follows:

                                     NATURE OF THE ACTION

         1.     This action arises out of Defendant’s unlawful retaliation against Plaintiff arising

from her opposition to discriminatory conduct in violation of Title VII of the Civil Rights Act of

1964 (“Title VII”), 42 U.S.C. §§ 2000e, et seq., as amended by the Civil Rights Act of 1991; the

New York State Human Rights Law § 290, et seq. (“NYSHRL”); New York Labor Law § 740;

and the Administrative Code of the City of New York, New York City Human Rights Laws § 8-

101, et seq. (“NYCHRL”).

         2.     Zborowski began working at Google in July of 2018. Over the next several years

Zborowski received neutral to very positive feedback from her peers and managers. Indeed, the

four performance reviews which Zborowski received prior to 2022 – the year where she raised

concerns regarding discriminatory conduct – all noted that Zborowski strongly exceeded

expectations. As a result, Zborowski was consistently rewarded with significant salary raises.




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         3.      Eventually, in September of 2021, Zborowski was promoted after receiving three

consecutive “strongly exceeds expectations” ratings – a rating reserved for the top 5th percentile

of the company. Throughout this time Zborowski received 28 peer and spot bonuses for

recognition of her work. Put simply, Zborowski was a rising star, and her career showed a clear

upward trajectory.

         4.      However, During Zborowski’s tenure with the Company, she directly reported to

Kevin Hansen (“Hansen”) who repeatedly engaged in discriminatory conduct and made

inappropriate comments regarding fellow employees’ sexual orientation, race, national origin

and/or gender in front of Zborowski and others.

         5.      Zborowski reported Hansen’s inappropriate conduct to Google – through what were

supposed to be confidential communications and interviews. However, Google breached this

confidentiality and improperly informed Hansen of her complaints. Hansen then immediately

began retaliating against Zborowski. After years of excelling at Google and receiving substantive

pay raises, as soon as Hansen learned of Zborowski’s (verified and valid) complaints, Zborowski

began receiving substandard pay raises. Eventually, Zborowski was constructively terminated

when Google approached her with the offer to accept an insulting performance improvement plan

(“PIP”) or resign and take a severance. Moreover, Zborowski requested on numerous subsequent

occasions to remain employed with Google, just under a different manager or within a different

group.1 Google refused to even respond to Zborowski’s reasonable request for a transfer. As a

result, Zborowski, who was a dutiful employee continued to work under Hansen. However, his

continued retaliation caused her to suffer from severe stress which manifested into, amongst

numerous other physical symptoms, pneumonia for which she required a 14-day treatment. In sum,


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        Importantly, other groups, include the YouTube arm of Google expressed serious interest and had availability
for Zborowski to join. However, Hansen improperly interfered with and prevented her transfer.


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Google and Hansen’s actions in pushing Zborowski out could not more clearly establish a claim

for unlawful retaliation and constructive termination.


                                             PARTIES

         6.    Plaintiff is an individual and resident of the State of New York, with her current

principal residence located in New York, New York.

         7.    Upon information and belief, Defendant Google, LLC is a Delaware limited

liability company, registered to do business in the State of New York.

                                 JURISDICTION AND VENUE

         8.    This Court has original jurisdiction pursuant to 28 U.S.C. § 1331 because the action

involves a federal statute, Title VII of the Civil Rights Act of 1964 § 701, 42 U.S.C.A. § 2000e, et

seq., as amended by the Civil Rights Act of 1991. Title VII of the Civil Rights Act of 1964 (“Title

VII”), 42 U.S.C. §§ 2000e, et seq., as amended by the Civil Rights Act of 1991.

         9.    On December 14, 2023, Zborowski filed a charge of discrimination with the U.S.

Equal Employment Opportunity Commission (“EEOC”) and requested an immediate right to sue

letter in connection with the same.

         10.   Moreover, the Court has supplemental jurisdiction over the claims arising under the

NYSHRL and NYCHRL pursuant to 28 U.S.C. § 1367, because such claims are so related to

claims in the action within such original jurisdiction that they form part of the same case or

controversy under Article III of the United States Constitution.

         11.   Venue is proper in this district pursuant to 28 U.S.C. § 1391(b), because a

substantial part of the events or omissions giving rise to Plaintiff’s claims occurred in the Southern

District of New York.




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                           FACTS UPON WHICH THE ACTION IS BASED

Zborowski is Hired and Excels at Google.

           12.     Zborowski began working at Google in July of 2018 as an L5 Marketing Manager.

Over the next several years Zborowski received neutral to very positive feedback from her peers

and managers. Throughout her employment, including immediately before and after her

constructive termination, Zborowski received no less than 45-separate positive messages of

support and appreciation for her skill and effort. Indeed, the four performance reviews which

Zborowski received prior to 2022 – the year where she raised concerns regarding Hansen’s

discriminatory conduct – all noted that Zborowski strongly exceeded expectations. As a result,

Zborowski was consistently rewarded with salary raises averaging 6% – eventually putting her

annual compensation at $380,000 when considering salary, bonuses, equity grants and other

benefits.

           13.     Eventually, in September of 2021, Zborowski was promoted to an L6 Marketing

Manager after receiving three consecutive “strongly exceeds expectations” ratings – a rating

reserved for the top 5th percentile of the company. Throughout this time Zborowski received 28

peer and spot bonuses for recognition of her work. These awards were given to Zborowski from

many different Google employees including Hansen.2 Put simply, Zborowski was a rising star, and

her career showed a clear upward trajectory. Given her significant compensation and her

recognized good work, Zborowski envisioned spending the rest of her career at Google.

Zborowski Raises Complaints Regarding the Discriminatory Conduct of Hansen, Her Manager.

           14.     On May 25, 2021, Zborowski made her first complaint regarding the conduct of her

manager – Kevin Hansen. On this date, Zborowski verbally complained to Janell Fischer – the



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    Hansen’s positive comments were made prior to Zborowski’s formal written complaint.


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Vice President of Retail Marketing and Hansen’s superior – that Hansen had made an inappropriate

comment and mocked a female co-worker’s use of maternity leave. Specifically, Hansen stated

that this female colleague’s maternity leave was a “vacation” and remarked that he deserved a

vacation just like everybody else. Zborowski was concerned that Hansen’s comments showed a

bias against women and employees who utilized family leave.

         15.   At that time, Zborowski reasonably requested that she no longer report directly to

Hansen, but that request was repeatedly rejected because the team was “too small” to reorganize.

         16.   On October 21, 2022, Zborowski made a formal written complaint regarding

Hansen’s conduct. Specifically, in response to a request to provide feedback on Hansen’s

performance, Zborowski noted that Hansen had engaged in inappropriate and discriminatory

conduct which was not in line with Google’s clear anti-discrimination policies and values, and

which eroded the trust and psychological safety of his subordinates. That reported conduct

included an incident on May 26, 2021, wherein Hansen expressed his disbelief about a senior

colleague's sexuality. More specifically, Hansen referred to this co-worker as a closeted lesbian in

front of her other colleagues at a team celebration. Throughout the party, Hansen referred to this

co-worker’s male date as “her beard” to other colleagues at the party.

         17.   On October 27, 2022, Google Human Resources (“HR”) confirmed that an

investigation of Hansen’s conduct would occur and, importantly, that Zborowski’s complaint

would remain strictly confidential. However, prior to the investigation’s completion, Hansen

engaged in even more inappropriate and discriminatory conduct which Zborowski relayed to HR

to include in their ongoing investigation. Specifically, at a December 8, 2022 Google event,

Hansen began making jokes in front of Google employees regarding a Vietnamese co-worker –

including claiming that this co-worker must be related to the performing artist, Thuy, because of




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their shared Vietnamese ethnicity. In addition to Zborowski, these comments were also made in

front of and overheard by Michael Camacho, a Google employee of Asian descent.

Hansen and Google Retaliate Against Zborowski Due to Her Complaints of Discriminatory
Conduct, Leading to Her Constructive Termination.

         18.   With the investigation still ongoing, on January 12, 2023, the retaliatory conduct

began. Hansen confronted and intimidated Zborowski, telling her that he knew that she was the

complainant in an intimidating manner. Hansen also told Zborowski that Caroline Sheu – Google’s

Director of First Party Retail and Hansen’s manager – had informed him of the ongoing

investigation and had given him detailed information about Zborowski’s role in triggering the

investigation. Zborowski informed HR and Google leadership via email regarding Hansen’s

confrontational and retaliatory behavior.

         19.   The retaliatory conduct continued. In March of 2023, Zborowski received her

annual raise which was only a 1.5% increase in her compensation. This figure was substantially

and materially lower than in prior years and was substantially and materially lower than other

members of her team. No reason was given for this differential treatment.

         20.   Hansen engaged in a multitude of other retaliatory actions such as removing

Zborowski from trips and meetings, criticizing and mocking her in front of her direct report,

denying her a path to promotion and generally creating a hostile work environment.

         21.   Moreover, in May of 2023, Zborowski began trying to move to a YouTube team.

Zborowski received approval from her executive to take on a part time project at YouTube.

However, Hansen approached the YouTube team to “warn” them about Zborowski. The YouTube

director shared Hansen’s unusual and unsolicited feedback with her. This was striking because

Zborowski had taken on other part time projects at Google before and Hansen – prior to

Zborowski’s complaints – did not provide this type of unsolicited advice.



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         22.   Adding injury to insult, on June 6, 2023, as a result of medical issues exacerbated

by stress and the incredible amount of work which Zborowski was performing, Zborowski fainted

at work. She broke her nose in three places, cracked 4 teeth, required 14 stitches in her forehead

and nose, experienced a concussion and experienced significant blood loss. Because the accident

occurred in the middle of the workday and Zborowski was so worried about giving Hansen any

reason to penalize her, Zborowski continued working in the emergency room and during

subsequent hospital visits. The very next day – despite these significant injuries – Zborowski

returned to work due to her fears of retaliation from Hansen.

         23.   Zborowski’s return to work exacerbated her concussion symptoms and she was

compelled to return to the emergency room. Her doctors then ordered her to stop working to

recover. Zborowski felt that she likely needed more time off but, due to her continuing worry about

Hansen taking retaliatory action, she returned to work as soon as possible. Over the coming

months, Zborowski continued to work while receiving medical treatments at the hospital.

         24.   On August 22, 2023, Hansen and Zborowski had a very tense one-on-one meeting.

Rather than commending Zborowski for working so hard in the face of her injuries, Hansen

criticized Zborowski for a “lack of attention to detail.” Zborowski then requested that she continue

working with YouTube through October because of lost time from her accident and her desire to

complete her project and leave a positive impression on the YouTube team. Despite explaining

this verbally and via email to Hansen, he never responded. Instead, Hansen retaliated further and

reached out again to YouTube to discourage them from continuing to work with Zborowski beyond

September.

         25.   In September of 2023, Hansen and Google engaged in their most egregious act of

retaliation. Hansen approached Zborowski and informed her that she was underperforming and




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that he would be placing her on a PIP, unless she wanted to resign, despite Zborowski’s strong

peer praise and past performance ratings. Google subsequently contacted Zborowski to discuss the

potential of a severance package. The message was clear – Zborowski could no longer work at

Google and under Hansen following her reports of Hansen’s discriminatory conduct.

         26.   Despite this clear retaliation and ongoing hostile work environment, Zborowski still

wanted to be a team player and continue to help her group, even if it meant putting herself at further

risk by continuing to work with Hansen. This concern materialized in November 2023 when

Zborowski went on a work outing to Mountain View where, amongst other employees, Hansen

was present continued his demeaning treatment. As a result of Hansen’s ongoing conduct,

Zborowski contracted stress induced and exacerbated chemical pneumonia for which she needed

treatment that lasted 14-days. According to her gastroenterologist and pulmonologist, this

pneumonia was a result of additional stress from being present around Hansen at the Mountain

View outing. Moreover, at this time Google was on notice of Zborowski’s instant constructive-

termination claims and request for a reasonable accommodation in the form of a transfer to another

team. Despite this, Google ignored all reasonable requests and allowed Zborowski to be subject to

further abuse which manifested into physical harm.

         27.   Following these actions, Zborowski again reported Hansen’s retaliatory conduct to

Google, requesting a transfer out from under Hansen’s management. These requests were

functionally ignored and no transfer was ever offered.

         28.   In sum, as set forth above, the facts and circumstances make clear that Zborowski

was constructively terminated as a result of her reporting the discriminatory conduct of her

superior.




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                                  FIRST CAUSE OF ACTION
               Retaliation in Violation of Title VII of the Civil Rights Act of 1964

         29.    Plaintiff repeats and re-alleges each allegation contained in paragraphs 1 through

27, as if fully set forth herein.

         30.    Plaintiff engaged in protected activities under Title VII, including reporting and

opposing discrimination.

         31.    Defendant violated Title VII when it treated Plaintiff less well because she reported

and opposed discrimination.

         32.    Defendant’s actions in violation of Title VII amounted to Plaintiff’s constructive

termination.

         33.    Plaintiff is entitled to damages as a result of Defendant’s unlawful acts, including,

but not limited to, past and future lost wages and benefits, damages to compensate her for past and

future physical and emotional distress, punitive damages, reasonable attorneys’ fees and costs of

this action, and pre-judgment interest.

                                SECOND CAUSE OF ACTION
           Retaliation in Violation of the NYSHRL and New York Labor Law § 740

         34.    Plaintiff repeats and re-alleges each allegation contained in paragraphs 1 through

32, as if fully set forth herein.

         35.    Plaintiff engaged in protected activities under NYSHRL and New York Labor Law

by, among other things, reporting and opposing discrimination.

         36.    Defendant violated the NYSHRL and New York Labor Law when it treated

Plaintiff less well because she reported and opposed discrimination.

         37.    Defendant’s actions in violation of the NYSHRL and New York Labor Law

amounted to Plaintiff’s constructive termination.




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         38.    As a consequence of Defendant’s unlawful acts, Plaintiff has been deprived of

compensation and is entitled to recovery of such amounts plus liquidated damages for all willful

violations, pre-judgment and post-judgment interest, attorneys’ fees, costs, and other

compensation.

                                   THIRD CAUSE OF ACTION
                              Retaliation in Violation of the NYCHRL

         39.    Plaintiff repeats and re-alleges each allegation contained in paragraphs 1 through

37, as if fully set forth herein.

         40.    Plaintiff engaged in protected activities under the NYCHRL, including reporting

and opposing discrimination pursuant to Section 8-107(7).

         41.    Defendant violated the NYCHRL when it treated Plaintiff less well because she

reported and opposed discrimination.

         42.    Defendant’s actions in violation of the NYCHRL amounted to Plaintiff’s

constructive termination.

         43.    Plaintiff is entitled to damages as a result of Defendant’s unlawful acts, including,

but not limited to, past and future lost wages and benefits, damages to compensate her for past and

future physical and emotional distress, punitive damages, reasonable attorneys’ fees and costs of

this action, and pre-judgment interest.

                                          JURY DEMAND

         Plaintiff demands a trial by jury.

         WHEREFORE, Plaintiff prays that judgment be entered against Defendant awarding past

and future lost wages and benefits, damages to compensate her for past and future physical and

emotional distress, punitive damages, reasonable attorneys’ fees and costs of this action, liquidated




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damages for all willful violations of the law, and pre-judgment and post-judgment interest; and all

such other and different relief that this court may deem just;

         (a)   On the First Cause of Action, judgment against Defendant in an amount of at least

One Million Dollars ($1,000,000.00), in an exact amount to be determined at trial;

         (b)   On the Second Cause of Action, judgment against Defendant in the amount of at

least One Million Dollars ($1,000,000.00), in an exact amount to be determined at trial.

         (c)   On the Third Cause of Action, judgment against Defendant in the amount of at least

One Million Dollars ($1,000,000.00), in compensatory damages; and in an amount of at least Two

Million Dollars ($2,000,000.00) in punitive damages, in an exact amount to be determined at trial.

Dated: New York, New York
       December 19, 2023

                                                      McLAUGHLIN & STERN, LLP

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